                            Douglas S. Parker, Alaska Bar No. 8311168
                            dparker@littler.com
                            Renea I. Saade, Alaska Bar No. 0911060
                            rsaade@littler.com
                            LITTLER MENDELSON
                            500 L Street, Suite 201
                            Anchorage, AK 99501
                            Tel: 907.561.1214
                            Fax: 907.561.1215

                            Attorneys for Plaintiff, CP Anchorage Hotel 2, LLC d/b/a Anchorage Hilton

                                                         UNITED STATES DISTRICT COURT
                                                              DISTRICT OF ALASKA

                            CP ANCHORAGE HOTEL 2, LLC d/b/a
                            ANCHORAGE HILTON,

                                           Plaintiff,                        Case No. 3:18-cv-00071-SLG

                                   v.

                            UNITE HERE! LOCAL 878, et al.,                   [PROPOSED] ORDER GRANTING
                                                                             PLAINTIFF’S REQUEST FOR
                                           Defendant.                        LEAVE TO FILE SUR-REPLY
                                                                             BRIEF


                                                                [PROPOSED] ORDER
Anchorage, Alaska 99501
 LITTLER MENDELSON
 500 L Street, Suite 201


    Fax: 907.561.1215
    Tel: 907.561.1214




                                  Having considered Plaintiff’s request for leave of Court to supplement the record and file a

                           sur-reply to address arguments raised in Defendant’s Reply in Support of Defendant’s Motion to

                           Dismiss [Dkt. 16] and determining that good cause exists to allow the supplementation to

                           incorporate facts not available at the time of the Plaintiff’s response to the pending Motion to

                           Dismiss [Dkt. 22] and the sur-reply because the arguments addressed by the sur-reply were not

                           raised or meaningfully addressed in Defendant’s initial Motion to Dismiss [Dkt. 16], this Court

                           GRANTS Plaintiff’s motion.




                            [PROPOSED] ORDER GRANTING PLAINTIFF’S REQUEST FOR LEAVE
                            TO SUPPLEMENT RECORD AND FILE SUR-REPLY                                            Page 1 of 2
                            Anchorage Hilton v. Unite Here! Local 878; 3:18-cv-71-SLG
                           DATED: _____________________, 2018.

                                                                       ________________________________________
                                                                       THE HONORABLE SHARON L. GLEASON
                                                                       UNITED STATES DISTRICT JUDGE




                            CERTIFICATE OF SERVICE:

                            I hereby certify that on the 21st day of
                            August, 2018, a true and correct copy
                            of the foregoing document was served on:

                            Eric B. Myers
                            Sarah E. Josephson

                            By  Hand  Mail  Fax
                             Court’s ECF filing system

                            /s/ Nancy Murphy Kruse
                            Nancy Murphy Kruse
                            Legal Assistant
Anchorage, Alaska 99501
 LITTLER MENDELSON
 500 L Street, Suite 201


    Fax: 907.561.1215
    Tel: 907.561.1214




                            [PROPOSED] ORDER GRANTING PLAINTIFF’S REQUEST FOR LEAVE
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